       3:13-cv-03227-SEM-TSH # 187               Page 1 of 1
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                                                                                Clerk, U.S. District Court, ILCD
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February 9, 2018

VIACMIECF

The Honorable Sue E. Myerscough
United States District Court for the Central District of Illinois
600 E. Monroe St.
Springfield, IL 62701

               Re: Johnson v. Tinwalla, No. 13 Civ. 3227 (C.D. Ill.)

Dear Judge Myerscough,

        We represent Terry Johnson in the above-captioned case. The Court has ruled that
Defendant Dr. Abdi Tinwalla may cross-examine Plaintiff Terry Johnson at trial about this
Court's ruling in the action Johnson v. Saddler, No. 10 Civ. 3279, granting summary judgment
against Mr. Johnson and sanctioning him. Johnson v. Tinwalla, No. 13 Civ. 3227, Dkt. 184, at 5-
6 (citing Johnson v. Saddler, No. 10 Civ. 3279 (C.D. Ill. Oct. 8, 2013) (text order)). The Court's
ruling in Saddler was based on a DVD that defendants in that action had submitted as evidence
and made part of the public record. See Johnson v. Saddler, No. 10 Civ. 3279, 2013 WL
4500443, at *1 (C.D. Ill. Aug. 21, 2013).

         Defendants in Saddler have now moved for an order sealing the DVD and "prevent[ing]
[its] further distribution." Johnson v. Saddler, No. 10 Civ. 3279, Dkt. 135, at 1 (C.D. Ill. Jan. 26,
2018). Counsel for Mr. Johnson have thus filed a limited notice of appearance in that action, as
well as a brief in opposition, to preserve Mr. Johnson's rights to use that DVD in preparation for
trial in this case. A copy of Mr. Johnson's brief in opposition is attached. Mr. Johnson
respectfully requests the right to be heard in this action before the Court rules on the Saddler
defendants' motion for a protective order.




                                                               Respl\WC
                                                               Justi'U. Ellis


CC:    All counsel of record via CM/ECF
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